         Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,


                              Plaintiffs,


 v.                                                        Civil Action No. 1:22-cv-0481 (CJN)

 UNITEDHEALTH GROUP INCORPORATED
 and
 CHANGE HEALTHCARE INC.,

                           Defendants.


                      JOINT MOTION TO RELEASE
        NON-CONFIDENTIAL PORTIONS OF SEALED TRIAL TRANSCRIPTS

       Plaintiffs United States of America, State of Minnesota, and State of New York and

Defendants UnitedHealth Group Incorporated and Change Healthcare Inc. (collectively the

“Parties”) respectfully request that the Court publicly release portions of the sealed trial

transcripts that do not contain confidential information. Of the over 2,700 total pages of trial

transcripts, the Parties propose redacting only 80 pages (approx. 2.9%), 30 of which contain

confidential non-Party testimony.

       The public has both a First Amendment and a common law right to access judicial

records, including in civil cases. See In re Fort Totten Metrorail Cases, 960 F. Supp. 2d 2, 5–6

(D.D.C. 2013). Unless sealed judicial records satisfy the D.C. Circuit’s standard under United

States v. Hubbard, 650 F.2d 293, 317–22 (D.C. Cir. 1980), they should be released to the public.

See Fort Totten, 960 F. Supp. 2d at 6. Therefore, where part of a trial took place in a sealed

courtroom, it is appropriate to unseal portions of those sealed proceedings that are not

confidential under applicable legal standards. See Mem. Order, United States v. AT&T Inc., No.
                                                  1
           Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 2 of 6




17-cv-2511-RJL (D.D.C. July 31, 2018), ECF No. 156 (applying Hubbard and granting in part

motion to unseal portions of sealed trial transcripts).

       Accordingly, the Parties respectfully request that the Court publicly release (1) the open-

court portions of the sealed transcripts and (2) the sealed-court portions of the sealed transcripts

that contain non-confidential information, including some of the Court’s evidentiary rulings,

colloquies between the Court and counsel, limited foundation testimony, and other non-

confidential testimony. The Parties—and where appropriate affected non-Parties—have agreed

to the scope of redactions to protect the portions of the sealed-court transcripts that contain their

competitively sensitive business information, and have agreed that the remainder of the sealed-

court transcripts may be released.

       Trial transcripts with proposed redactions highlighted are filed under seal and citations to

transcripts lines with partial or full redactions are listed below by transcript and witness.

Aug. 1, 2022 PM Transcript (Exhibit A)

      Lynn Garbee (former Cigna)1: 3:23, 4:2, 4:5, 4:23, 5:6–8, 5:13–20, 5:22–24, 6:1–5, 6:7,
       6:9–10, 6:12–22, 7:5–17.

      Kelly Dill (Cigna)2: no redactions.

      Larry Lautzenhiser (Aetna)3: 60:5–6, 60:14, 60:16–17, 60:21–22, 61:1, 61:7, 61:12–13,
       61:22–23, 62:2–6, 62:10–11, 62:17, 62:19–20, 63:18–19, 63:22–23, 64:5, 64:7, 65:5,
       65:11, 65:23–67:14, 67:17–71:7, 71:11–73:17, 74:25–76:15, 78:3–9, 79:21–80:21, 81:5–
       7, 82:21–83:9, 85:18, 87:11, 87:23.




       1
           Counsel for non-parties Lynn Garbee and Cigna confirmed that only the cited portions
of the trial transcript, as highlighted in Exhibit A, contain confidential information.
         2
           Counsel for non-party Cigna confirmed that this portion of the trial transcript does not
contain confidential information. The Parties are not seeking to unseal the confidential portion
of Ms. Dill’s deposition transcript (submitted as PX1004).
         3
           Counsel for non-party Aetna confirmed that only the cited portions of the trial
transcript, as highlighted in Exhibit A, contain confidential information.
                                                  2
           Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 3 of 6




Aug. 3, 2022 AM Transcript (Exhibit B)

      Michael Peresie (Change): 101:3–4, 101:6, 101:9–10, 101:13–14, 101:17, 101:25, 102:1,
       102:3–23, 102:25, 103:1, 103:4–7; 103:9, 104:7, 104:9, 104:15–16, 105:2, 105:8, 105:13,
       105:23, 106:1, 106:8, 106:12–13, 106:15–16, 106:18, 106:20–22, 106:24–107:1, 107:4–
       5, 107:12–15, 107:18–22, 107:24–108:16, 108:18, 108:23–109:5, 109:7, 109:20–21,
       109:24, 110:2, 110:4, 110:6.

Aug. 3, 2022 PM Transcript (Exhibit C)

      Kris Joshi (Change): 52:21–23, 53:1–2, 53:4–6, 53:8–9, 53:16–22, 54:3–6.

Aug. 5, 2022 AM Transcript (Exhibit D)

      Steven Yurjevich (United): 7:24, 8:2–3, 8:5, 8:7–8, 8:11, 8:13, 8:15–16, 8:18, 8:21–22,
       8:24, 9:1–2, 9:6, 9:9, 9:12, 9:14, 9:16–18, 9:20–21, 9:24–25, 10:2–3, 10:5, 10:23–24,
       11:3, 11:5–7, 11:10, 12:16–17, 13:9–10, 15:5–8, 15:13, 15:20.

Aug. 8, 2022 PM Transcript (Exhibit E)

      William Golden (United)4: no redactions.

Aug. 10, 2022 AM Transcript (Exhibit F)

      Ashok Chennuru (Anthem)5: no redactions.

      Daniel Schumacher (United): 110:7–111:5, 111:9—113:15, 114:2–115:4, 115:7–116:12,
       116:17–118:13, 119:24–120:3, 120:8–17, 121:5–13, 121:23–122:9, 122:13–18, 122:23–
       25, 123:4–9, 123:13–125:8, 126:14–131:3, 131:13–132:6, 132:11–25, 133:12–138:10.




       4
          The Parties are not seeking to unseal the confidential portion of Mr. Golden’s
deposition transcript (submitted as PX1014).
       5
         Counsel for non-parties Elevance (formerly Anthem) and Availity confirmed that this
portion of the trial transcript does not contain confidential information. The Parties are not
seeking to unseal the confidential portion of Mr. Chennuru’s deposition transcript (submitted as
PX1019).
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        Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 4 of 6




Dated: September 7, 2022

Respectfully submitted,

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        Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 5 of 6




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         Case 1:22-cv-00481-CJN Document 123 Filed 09/07/22 Page 6 of 6




                                 CERTIFICATE OF SERVICE

       I certify that on September 7, 2022, a copy of the foregoing motion was electronically

transmitted to the Clerk of Court using the CM/ECF system, which will transmit notification of

such filing to all registered participants, and copies of the sealed exhibits were served by email

on all Plaintiffs and Defendants’ outside counsel of record, as listed in the Scheduling and Case

Management Order (ECF No. 42).

                                                /s/ Jeremy C. Keeney
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